Case 4:22-cv-00073-O   Document 1-5   Filed 01/28/22   Page 1 of 6   PageID 11




 EXHIBIT A
   Plaintiff’s
Original Petition
Case 4:22-cv-00073-O               Document 1-5    Filed 01/28/22      Page 2 of 6       PageID 12
                                                                                                         FILED
                                                                                            TARRANT COUNTY
                                                                                           12/28/2021 12:00 AM
                                                096-331099-21                              THOMAS A. WILDER
                                      CAUSE NO. ____________                                  DISTRICT CLERK

ROI DEVELOPERS, INC.,                              §           IN THE DISTRICT COURT
d/b/a ACCRUVIA,                                    §
                                                   §
        Plaintiff,                                 §
                                                   §
v.                                                 §           ____ JUDICIAL DISTRICT
                                                   §
ATHENA BITCOIN, INC., d/b/a                        §
ATHENA BITCOIN GLOBAL,                             §
                                                   §
        Defendant.                                 §           TARRANT COUNTY, TEXAS

                                             S ORIGINAL PETITION

        Plaintiff                                                      files this its Original Petition

against Defendant Athena Bitcoin, Inc., d/b/a Athena Bitcoin Global                    . In support,

Accruvia would show:

                                    DISCOVERY CONTROL PLAN

        1.        Discovery is to be conducted under Level 1, pursuant to TEX. R. CIV. P. 190.2.

                                   RULE 47 DAMAGES STATEMENT

        2.        Pursuant to Tex. R. Civ. P. 47, Accruvia is seeking monetary relief of $250,000 or

less.

                                              PARTIES

        3.        Plaintiff Accruvia is a Texas corporation doing business in Texas.

        4.        Defendant Athena Bitcoin, Inc., is a Delaware corporation, doing business in Texas.

It can be served with process by serving its registered agent: National Registered Agents, Inc.,

1999 Bryan Street, Suite 900, Dallas, Texas 75201.




             S ORIGINAL PETITION                                                                Page 1
Case 4:22-cv-00073-O              Document 1-5     Filed 01/28/22      Page 3 of 6      PageID 13



                                   JURISDICTION AND VENUE

       5.        The Court has subject matter jurisdiction over this matter because the amount in

controversy exceeds the minimal jurisdictional limitations of the Court.

       6.        The Court has personal jurisdiction over Athena because it is going business in

Texas, including owning, operating and/or controlling at least seven crypto ATMs in Texas,

including two in Fort Worth, Texas. Further, the agreement Athena breached was with a Texas

resident and involved work done under that agreement in Texas.

       7.        Venue is proper in Tarrant County, Texas, pursuant to TEX. CIV. PRAC. & REM.

CODE §15.002(a)(1), because all or a substantial part of the events or omissions giving rise to the

claim occurred in Tarrant County, Texas. Moreover, venue is proper in Tarrant County because

Athena breached a contract that was performable, in whole or in part, in Tarrant County, Texas.

                                               FACTS

       8.        Accruvia is a software developer based in and operating out of its office in Tarrant

County, Texas.

       9.        Athena is a crypto-currency technology company.

       10.       In 2021, Athena hired Accruvia to provide certain software development and

support services.

       11.       Athena agreed to pay Accruvia for its work.

       12.       Accruvia performed such work, and Accruvia invoiced Athena for all work done

by Athena by Accruvia.

       13.       To date, Athena has refused to pay for the work done for it by Accruvia.




            S ORIGINAL PETITION                                                                Page 2
Case 4:22-cv-00073-O            Document 1-5       Filed 01/28/22        Page 4 of 6   PageID 14



                                      CAUSES OF ACTION

                                        Breach of Contract

       14.     Accruvia re-alleges and incorporates by reference the facts and allegations set forth

in all preceding paragraphs as if fully set forth at length herein.

       15.     There is a valid and existing agreement between Accruvia and Athena that provides

that Athena will pay Accruvia for the software development and support services work it

performed for Athena.

       16.     Accruvia fully performed under the                     greement, expending time and

resources to provide work that was utilized by and that benefited Athena.

       17.     All conditions necessary to performance under the agreement have occurred or have

been performed.

       18.     Athena breached the agreement by refusing to pay for such work, despite a demand

for payment from Accruvia.

       19.                breach has proximately caused injury and damages to Accruvia, and

Accruvia seeks its actual damages.

       20.     Accruvia i                                                                      TEX.

CIV. PRAC. & REM. CODE § 38.001.

                                          Quantum Meruit

       21.     Accruvia re-alleges and incorporates by reference the facts and allegations set forth

in all preceding paragraphs as if fully set forth at length herein.

       22.     Accruvia provided valuable services and/or materials to Athena.

       23.     Athena accepted and benefited from such services and/or materials.




          S ORIGINAL PETITION                                                                 Page 3
Case 4:22-cv-00073-O              Document 1-5        Filed 01/28/22       Page 5 of 6      PageID 15



          24.      Athena knew and had reasonable notice that Accruvia expected compensation for

its services and/or materials.

          25.      Athena failed to and refuses to pay Accruvia for the services and/or materials

provided by Accruvia to Athena.

          26.      Accordingly, Accruvia is entitled to recovery of damages from Athena under the

doctrine of quantum meruit.

          27.      Accruvia seeks its actual damages on its quantum meruit claim.

          28.      Accruvia also seeks                  es pursuant to TEX. CIV. PRAC. & REM. CODE §

38.001.

                                      ALTERNATE PLEADINGS

          29.      Accruvia makes all allegations in the alternative, to the extent they are inconsistent,

pursuant to TEX. R. CIV. P. 48.

                                         REQUEST FOR RELIEF

          WHEREFORE, PREMISES CONSIDERED, Plaintiff requests the following:

                A. Citation be issued and Defendant be required to appear and answer;
                B. Plaintiff be awarded a judgment against Defendant for Plaintiff s actual damages,
                   pre- and post-judgment interest, and its                       ; and
                C. Plaintiff be granted all such other and further relief, special or general, legal or
                   equitable, as Plaintiff may be shown to be justly entitled to receive.




Dated this 24th day of December, 2021.




           S ORIGINAL PETITION                                                                      Page 4
Case 4:22-cv-00073-O        Document 1-5    Filed 01/28/22      Page 6 of 6   PageID 16



                                  Respectfully submitted,


                                  /s/ Kelly Stewart
                                  Kelly Stewart
                                  Texas Bar No. 19221600
                                  K STEWART LAW, P.C.
                                  5949 Sherry Lane, Suite 900
                                  Dallas, Texas 75225
                                  972.308.6168
                                  kelly@kstewartlaw.com

                                  ATTORNEY FOR PLAINTIFF




      S ORIGINAL PETITION                                                          Page 5
